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                                Exhibit J
United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
                           Civil Action No. 05-11084-PBS

        Exhibit to Plaintiff’s Memorandum In Support of United States’ Motion
             In Limine Regarding Testimony of Raymond C. Winter and
                          Sequencing of Deposition Testimony
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                                                                               Page 576
                       UNITED STATES DISTRICT COURT

                         DISTRICT OF MASSACHUSETTS

       ----------------------------------X

       IN RE PHARMACEUTICAL INDUSTRY        )

       AVERAGE WHOLESALE PRICE LITIGATION)

       ----------------------------------X Volume III

       THIS DOCUMENT RELATES TO:            ) MDL NO. 1456

       The City of New York, et al.,        ) Civil Action

          V.                                ) No. 01-12257-PBS

       Abbott Laboratories, et al.          )

       ----------------------------------X

       THIS DOCUMENT RELATES TO:            )

       State of California, ex rel.         )

       Ven-A-Care v. Abbott Laboratories,)

       Inc., et al., Case No.               )

       03-cv-11226-PBS                      )

       ----------------------------------X

                            OCTOBER 2, 2008

               DEPOSITION OF DEY, L.P. AND DEY, INC.

                    BY PAMELA MARRS - VOLUME III



       Reported By: WENDY L. VAN MEERBEKE, CSR No. 3676




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                                                                               Page 577
   1
          IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT
   2
                           IN AND FOR LEON COUNTY, FLORIDA
   3
          -----------------------------------X
   4
          THE STATE OF FLORIDA, ex rel.                       )
   5
          VEN-A-CARE OF THE FLORIDA KEYS,                     )
   6
          INC., a Florida corporation, by                     )
   7
          and through its principal Officers )
   8
          and directors, ZACHARY T. BENLEY                    )
   9
          and T. MARK JONES,                                  )
 10
                             Plaintiffs,                      )
 11
                  Vs.                                         ) Case No.
 12
          BOEHRINGER INGELHEIM CORPORATION,                   ) 98-3032 A
 13
          et al.                                              )
 14
                             Defendants.                      )
 15
          -----------------------------------X
 16

 17

 18

 19

 20

 21

 22




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                                                                               Page 578
   1
                                   UNITED STATES DISTRICT COURT
   2
                                      DISTRICT OF MASSACHUSETTS
   3
                                                 --oOo--
   4
          In re: PHARMACEUTICAL INDUSTRY
   5
          AVERAGE WHOLESALE PRICE LITIGATION
   6
          ------------------------------------X
   7
          United States of America, ex.                          )
   8
          rel. Ven-A-Care of the Florida                         )
   9
          Keys, Inc vs. Abbott Laboratories,                     )
 10
          Inc., vs. Abbott Laboratories, Inc.,)
 11
          CIVIL ACTION NO. 06-11337-PBS                          )
 12
          ------------------------------------X
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22




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                                                                               Page 579
   1
                                   A P P E A R A N C E S :
   2

   3
          For DEY LABORATORIES:
   4
                            PAUL F. DOYLE, ESQ.
   5
                            KELLEY, DRYE & WARREN LLP
   6
                            101 Park Avenue
   7
                            New York, New York 10178
   8
                            212.808.7786
   9

 10
          For the UNITED STATES OF AMERICA:
 11
                            GEORGE B. HENDERSON, ESQ.
 12
                            U.S. DEPARTMENT OF JUSTICE
 13
                            One Courthouse Way, Suite 9200
 14
                            Boston, Massachusetts 02210
 15

 16
          For the STATE OF CALIFORNIA:
 17
                            RITA L. HANSCOM,
 18
                            Deputy Attorney General
 19
                            Post Office Box 85266
 20
                            110 West A Street, Suite 1100
 21
                            San Diego, California 92186
 22
                            619.688.6831

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                                                                               Page 580
   1
                          A P P E A R A N C E S :             (CONTINUED)
   2

   3
          For the STATE OF FLORIDA:
   4
                            L. KIRK ROGERS, ESQ.
   5
                            OFFICE OF THE ATTORNEY GENERAL
   6
                            Medical Fraud Control Unit
   7
                            Complex Civil Enforcement Bureau
   8
                            850.414.3300
   9

 10
          For PLAINTIFF VEN-A-CARE:
 11
                            GARY L. AZORSKY, ESQ.
 12
                            DAVID FILBERT, LITIGATION PARALEGAL
 13
                            BERGER & MONTAGUE, P.C.
 14
                            1622 Locust Street
 15
                            Philadelphia, Pennsylvania 19103-6305
 16
                            215.875.3000
 17

 18
          For CHIRON CORPORATION: (Appearing Via Telephone)
 19
                            BRIAN SCHNEIDER, ESQ.
 20
                            ARENT FOX LLP
 21
                            1050 Connecticut Avenue, NW
 22
                            Washington, DC 20036-5339

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                                                                               Page 581
   1
                          A P P E A R A N C E S :             (CONTINUED)
   2

   3
          For the CITY OF NEW YORK AND NEW YORK COUNTIES
   4
          IN MDL 1456: (Appearing Via Telephone)
   5
                            KATHRYN B. ALLEN, ESQ.
   6
                            KIRBY MCINERNEY LLP
   7
                            825 Third Avenue
   8
                            New York, NY 10022
   9
                            212.371.6600
 10

 11

 12
          Videographer:             PETE SAIS
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22




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                                                                               Page 667
   1
          I just don't remember.
   2
                   Q.       Okay.       Can you tell me just for the
   3
          record so that it's clear the date -- any date
   4
          when Dey produced documents to the office of
   5
          inspector general in response to the subpoena
   6
          which is described in topic 14?
   7
                   A.       I don't recall the specific dates.                        I
   8
          apologize.
   9
                   Q.       Can you give me the Bates ranges of any
 10
          of those documents?
 11
                   A.       I cannot.
 12
                   Q.       Turning to --
 13
                            MR. DOYLE:           By the way, all these
 14
          documents have been produced to you, including
 15
          the Bates ranges.
 16
                            MS. ROGERS:           Objection.
 17
                            MR. HENDERSON:           Mr. Doyle, that's what
 18
          I would like to establish through testimony of
 19
          Dey so that there's no dispute about it.                          We went
 20
          back and forth on the relevancy of this.                          I
 21
          stated in a letter why I believed it was
 22
          relevant.          Ms. Giuliana indicated that Dey would

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                                                                               Page 668
   1
          be prepared to testify on these topics.
   2
                            MR. DOYLE:           Did you bring the
   3
          documents?           Did you bring the letters that would
   4
          -- are you going to show them to her?
   5
                            MS. ROGERS:           Objection.
   6
                            MR. HENDERSON:           I don't have that
   7
          because it's obvious Ms. Marrs is not prepared to
   8
          testify and doesn't have any personal knowledge
   9
          of these things or isn't prepared to give any
 10
          knowledge of --
 11
                            MR. DOYLE:           I'll say off the record --
 12
          let me just say this, Bunker.                   You've got all
 13
          those letters.              Okay.       I assumed -- we assumed
 14
          that you would be showing this to her.                        If you're
 15
          not, that's your choice.                   But don't say she's not
 16
          prepared.
 17
                            MR. HENDERSON:           Ms. Marrs has already
 18
          said it, Mr. Doyle.
 19
                   Q.       With respect to topic 15, are you
 20
          prepared to testify on this topic, Ms. Marrs?
 21
                   A.       Well, I'm prepared in a general sense,
 22
          which is where this letter came from in terms of

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                                                                                Page 669
   1
          the Bates numbers that were produced in November
   2
          of 2002.
   3
                   Q.       And tell me what this Exhibit 39
   4
          represents.
   5
                   A.       It is the submission of documents just
   6
          prior to when the attorneys came in and did a
   7
          wall-to-wall search.                   And then I believed there
   8
          were other documents produced after this.
   9
                   Q.       Were there documents produced before
 10
          this?
 11
                   A.       Yes.
 12
                   Q.       And what were the Bates ranges?
 13
                   A.       I don't have those with me.
 14
                   Q.       What effort did you make to find out
 15
          that information?
 16
                   A.       I was under the impression that if we
 17
          provided this, that would be sufficient.
 18
                            MR. DOYLE:           Excuse me, Bunker, but the
 19
          letter -- anything that is before DL-TX 0090850
 20
          would answer your question, if you follow what
 21
          I'm saying.            In other words, that's the purpose
 22
          of the letter.              Anything that has that Bates

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                                                                                Page 670
   1
          number in Texas preceding that would be the
   2
          answer to your question.
   3
                            MR. HENDERSON:           Ms. Marrs -- Mr. Doyle,
   4
          I can't call you as a witness unless you're going
   5
          to agree to testify as a witness at trial.
   6
                            MR. DOYLE:           Do you want the facts or
   7
          not?      You don't?
   8
                            MR. HENDERSON:           I want admissible
   9
          testimony.           I want admissible testimony, Mr.
 10
          Doyle.        Your testifying during a deposition is
 11
          not admissible unless you're agreeing to testify
 12
          as a witness at trial.
 13
                            MR. DOYLE:           There's a document there
 14
          which answers the exact question you just raised.
 15
                            MS. ROGERS:           Objection.
 16
                            MR. HENDERSON:           I'd like to have this
 17
          marked as the next exhibit.
 18
                                    (A document was marked as Exhibit
 19
          Marrs 040 for identification.)
 20
                            MR. HENDERSON:
 21
                   Q.       Ms. Marrs, I've handed you a document
 22
          marked Exhibit 40.                 Have you ever seen this?

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                                                                                Page 671
   1
                   A.       Not that I recall.
   2
                   Q.       To your knowledge, did you or anybody
   3
          acting on Dey's behalf make any effort to obtain
   4
          cover letters from Dey's counsel with respect to
   5
          productions of documents to the State of Texas in
   6
          response to Texas' request for documents?
   7
                            MR. DOYLE:           Objection as to form.
   8
                            THE WITNESS:           I believe our attorneys
   9
          have all the documents.                   I didn't personally see
 10
          this one.
 11
                            MR. HENDERSON:
 12
                   Q.       I take it they have not provided you
 13
          with any other cover letters other than Exhibit
 14
          39?
 15
                   A.       Not that I recall.
 16
                   Q.       Can you tell me -- this document that
 17
          is Exhibit 40 appears to be a cover letter
 18
          producing certain documents; correct?
 19
                   A.       Correct.
 20
                   Q.       Do you know what the Bates ranges of
 21
          those documents is?
 22
                   A.       Well, it doesn't say; does it?

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                                                                                Page 672
   1
                   Q.       No, it does not.           This refers to some
   2
          pages with a DL prefix.                   That's a very different-
   3
          looking prefix than a DL-TX prefix that's
   4
          referenced in Exhibit 39; is that correct?
   5
                            MR. DOYLE:           Objection to form.
   6
                            THE WITNESS:           It's different because it
   7
          has TX in it.             The number of -- the number of
   8
          characters is different.
   9
                            MR. HENDERSON:           I'd like to have this
 10
          next document marked as Exhibit 41.
 11
                                    (A document was marked as Exhibit
 12
          Marrs 041 for identification.)
 13
                            MR. HENDERSON:
 14
                   Q.       Showing you what's been marked as
 15
          Exhibit 41, this is a letter dated May 11, 2000
 16
          from Stephen Hudspeth to Susan Huber.                       Stephen
 17
          Hudspeth was a Dey attorney; is that correct?
 18
                   A.       He was a Coudert attorney, and he
 19
          represented us in these lawsuits until we
 20
          switched to Coudert Brothers -- I mean Kelley
 21
          Drye.       Sorry about that.
 22
                   Q.       This letter appears to be producing 26

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                                                                                Page 673
   1
          pages; is that right?
   2
                   A.       That's correct.
   3
                   Q.       Does it indicate the Bates numbers of
   4
          those 26 pages?
   5
                   A.       No.     It just says they're the same as
   6
          the Bates numbers as in the response to the OIG
   7
          subpoena.
   8
                   Q.       Do you know what -- the Bates numbers
   9
          that were produced under this cover letter that
 10
          is Exhibit 41?
 11
                   A.       I do not.
 12
                            MR. HENDERSON:         I'll have this next
 13
          letter marked.
 14
                                    (A document was marked as Exhibit
 15
          Marrs 042 for identification.)
 16
                            MR. HENDERSON:
 17
                   Q.       Now, Exhibit 42 is a letter dated May
 18
          25, 2000 from Mr. Hudspeth to Ms. Huber.                           Would
 19
          you agree with me that this appears to be a cover
 20
          letter enclosing additional documents to the
 21
          State of Texas?
 22
                   A.       Yes.

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                                                                                Page 674
   1
                   Q.       And there's no indication of the Bates
   2
          range of these documents; correct?
   3
                   A.       Correct.
   4
                   Q.       And is it fair to say you don't know
   5
          what those Bates ranges were of the documents
   6
          that were produced in this letter?
   7
                   A.       I do not.
   8
                   Q.       Did you make any effort at all, to your
   9
          knowledge, to determine what documents were
 10
          produced in the letter?
 11
                   A.       No.
 12
                            MR. HENDERSON:         I'd like to have this
 13
          next document marked as Exhibit 43.
 14
                                    (A document was marked as Exhibit
 15
          Marrs 043 for identification.)
 16
                            MR. HENDERSON:
 17
                   Q.       I've handed you a document marked as
 18
          Exhibit 43, which is a letter from Mr. Hudspeth
 19
          to Ms. Huber, June 29, 2000.                  Again, this
 20
          reflects Dey's further production of documents in
 21
          response to a CID consisting of 21 boxes.                             Is it
 22
          fair to say that there's no Bates range indicated

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                                                                                Page 675
   1
          that would identify the specific documents that
   2
          were produced?
   3
                   A.       Correct.
   4
                   Q.       Do you know what documents were
   5
          produced?
   6
                   A.       I do not.
   7
                   Q.       Did you make any effort to determine
   8
          what documents were produced?
   9
                   A.       I did not.
 10
                   Q.       Do you know whether or not Coudert
 11
          Brothers or Kelley Drye has information that
 12
          would indicate what Bates ranges were of the
 13
          documents that were produced on this date?
 14
                            MR. DOYLE:           Objection as to form.
 15
                            THE WITNESS:           I would assume they do,
 16
          but I don't know for sure one way or the other.
 17
                            MR. HENDERSON:
 18
                   Q.       The CID -- do you know what that means?
 19
                   A.       I did at one time.
 20
                   Q.       Would it be a civil investigative
 21
          demand?
 22
                   A.       That sounds familiar.

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                                                                                Page 676
   1
                   Q.       Do you have any other information, Ms.
   2
          Marrs -- before I move on to another topic, do
   3
          you have any other information that you can
   4
          provide to me regarding the dates of Dey's
   5
          production of documents to the State of Texas in
   6
          response to the State of Texas' discovery
   7
          requests and the Bates numbers of those documents
   8
          produced in each separate production of
   9
          documents?
 10
                            MR. DOYLE:            Objection as to form.
 11
                            THE WITNESS:            I don't have any
 12
          additional information.
 13
                            MR. HENDERSON:
 14
                   Q.       I'd like to move on now to topic 16 as
 15
          shown in Exhibit 1.                    Could you review that topic
 16
          to yourself, please?
 17
                   A.       Okay.
 18
                   Q.       What did you do to prepare on this
 19
          topic?
 20
                   A.       I had discussions with the attorneys.
 21
                   Q.       Anything else?
 22
                   A.       No.

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